Case 1:16-cv-00629-WJM-STV Document 350 Filed 10/01/19 USDC Colorado Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez

   Date:                 October 1, 2019
   Deputy Clerk:         Anna Frank
   Court Reporter:       Mary George


    Civil Action No. 16-cv-0629-WJM-STV                     Counsel:

    THE ESTATE OF JOHN PATRICK WALTER,                      Edwin Budge
                                                            Erik Heipt

           Plaintiff,

    v.

    THE BOARD OF COUNTY COMMISSIONERS OF                    William O’Connell, III
    THE COUNTY OF FREMONT,                                  Katherine Pratt
    ALLEN COOPER, in his official capacity as
    Fremont County Sherriff, and
    JAMES BEICKER,

           Defendants.


                                   COURTROOM MINUTES


   Jury Trial, Day 2

   8:53 a.m.      Court in session. Jury present.

   Plaintiff resumes.

   8:54 a.m.      Plaintiff’s witness Sara Gonzales is called and sworn.

   Direct examination of Ms. Gonzales by Mr. Budge.

   Plaintiff’s Exhibits 226, 92, 105, 108, 106, 120, 123, 145, 146, and 127 are admitted into
   evidence.

   10:21 a.m.     Court in recess.
   10:38 a.m.     Court in session. Jury present.
Case 1:16-cv-00629-WJM-STV Document 350 Filed 10/01/19 USDC Colorado Page 2 of 3




   Cross-examination of Ms. Gonzales by Mr. Pratt.

   Redirect examination of Ms. Gonzales by Mr. Budge.

   Ms. Gonzales is excused.

   11:00 a.m.    Plaintiff’s witness Chris Wilson is called and sworn.

   Direct examination of Mr. Wilson by Mr. Budge.

   Plaintiff’s Exhibit 78 is admitted into evidence.

   Cross-examination of Mr. Wilson by Mr. O’Connell.

   Mr. Wilson is excused.

   11:25 a.m.    Plaintiff’s witness Charlene Combs is called and sworn.

   Direct examination of Ms. Combs by Mr. Heipt.

   Plaintiff’s Exhibit 218 is admitted into evidence.

   12:05 p.m.    Court in recess.
   1:37 p.m.     Court in session. Jury present.

   Cross-examination of Ms. Combs by Mr. O’Connell.

   Redirect examination of Ms. Combs by Mr. Heipt.

   Ms. Combs is excused.

   1:40 p.m.     Portions of the deposition transcript of Plaintiff’s witness Ty Martin are
                 read into the record.

   1:54 p.m.     Plaintiff’s witness Dr. Emily Russell is called and sworn.

   Direct examination of Dr. Russell by Mr. Budge.

   Plaintiff’s Exhibit 170 is admitted into evidence.

   2:50 p.m.     Court in recess.
   3:07 p.m.     Court in session. Jury present.

   Continued direct examination of Dr. Russell by Mr. Budge.

   Plaintiff’s Exhibits 171 and 173 are admitted into evidence.
Case 1:16-cv-00629-WJM-STV Document 350 Filed 10/01/19 USDC Colorado Page 3 of 3




   Cross-examination of Dr. Russell by Ms. Pratt.

   Redirect examination of Dr. Russell by Mr. Budge.

   Dr. Russell is excused.

   3:56 p.m.     Plaintiff’s witness James Coulson is called and sworn.

   Direct examination of Mr. Coulson by Mr. Budge.

   Plaintiff’s Exhibit 169 is admitted into evidence.

   Cross-examination of Mr. Coulson by Mr. O’Connell.

   Redirect examination of Mr. Coulson by Mr. Budge.

   Mr. Coulson is excused.

   4:09 p.m.     Jury released, to return at 8:35 a.m. on Wednesday, October 2, 2019.

   4:10 p.m.     Court in recess.

   Trial continued.

   Total time in court: 5:11
